                        Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 1 of 11 PageID #:314                                                                      5h
 It.Nl) 245C (Rcv. 03/!,2/2020) Aincndcd Judgrncnt in a ('rinrinal Casc                                                     (Notc: ldentily Changcs with Asterisks (.))
 Sheet   I



 Verified v&,,ftf,8g[0,
DERRICK DERRICK TURNER
                  Oat€:2020.06.26
                                          UNITED STATES DISTRICT COURT
TURNER            I 2:l 5:56 -O5'00'                                  Northern District of Illinois

  UNITED STATES OF AMERICA                                                              AMENDED JUDGMENT IN A CRIMTNAL CASE
                 v.
  ROBERT S. WAKSMUNDZKI                                                                    Number:
                                                                                        Case                 I :19-CR-00573( I )

                                                                                        USM Number           54201-424
  Date of Original Judgment. 1212012019
                                                                                        Steven Richard Hunter
  (Or Date of Last Amended Judgment)
                                                                                        Defendant's Attorney
   Reason for Amendment:
   Li    Corrcction ol'Scntcrrce on Renrand     (ltl   U.S.C. 3742(f)(l ) and (2))      n    Modification of Supervision Conditions ( l8 U.S.C. gg 3563(c) or
   fl    Reduction ol'scntence fbr Changcd Circurnstanccs (Fed. R. Crinr.                    3   583(e))
                                                                                                                       -l'enn
         P.35(b))                                                                       El   Modification of lrnposed       ol'lrnprisonrnenr tbr Extraordinary
   E Corrccrion ol Scntencc by Sentcncing Court (Fed. R. Crinr. P. 35(a))                    and Compclling Reasons ( l8 U.S.C. N 3582(c)( I ))

   f] Concction ol'scntcncc tirr Clerical Mistake (Fed. R. Crinr. P. 36)                !    Modification of lnrposed Tenn ol'Inrprisonnrcnt for Retroaclivc
                                                                                             Amendment(s) to tho Sentencing Cuidelines ( ltt U.S.C. $
   E     Moditlcation of'lnrposed Tenn of lrnprisonment Pursuant to Section
                                                                                             3582(cX2))
         404 of thc First Step Act
                                                                                        n    Dire.r Morion kr Distrio Courr Pursuanr   E    Zt U.S.C.    $ ZZSS
                                                                                             n,    Er8 u.s.c. $ i559(c)(7)
                                                                                        E    Modification of Restiturion Order ( l8 U.S.C. li 36(14)
 THE DEFENDANT:
    El       pleaded guilty to count(s) Counts One and Two of the Infonnation.
    E        pleaded nolo contendere to    count(s) which was accepted               by the court.
    n        was found guilty on       count(s) after a plea of not guilty.
 The del'endant is adjudicated guilty of these offenses:
  Title & Section / Nature of Offense                                                                                   Ended
                                                                                                                   Offense                          Count
   l8:371.F Conspiracy To Defiaud Thc Unitccl Stares                                                               06/04/2015                        I
   26:7206A.F Fraud arrd False Statcrnents                                                                         06/04t2015                       2




 The defendant is sentenced as provided in pages 2 through 4 ofthisjudgment. The sentence is irnposed pursuant to the Sentencing Reform
 Act of 1984. Other than the amendments or modifications stated in this iudsment. the iudement oreviouslv entered shrll .tsnd. (S..
 attachments)

    D ttre defendant has been found not guilry on count(s)
    E Count(s) disrnissed on rhe motion of the United Stares.
           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
 residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgrnent are fully-paid. tf
                                                                                                                                         ordered ro
 pay reslilution. the defendant rnust notify the court and United States attonrey of rnaterial change.s in econornic circurnstances.

                                                                                                   June 25. 2020
                                                                                                   Da@ent
                                                                                                   l4*rt/\
                             Byt*eA
                 U.S. D                                             HERN                           Signature ofJudge
                             IE'ST
                                                                                                   Edmond E. Chang, United States Districl Judge
                                                                                                   Name and Title of Judge

                                                                                                   June 25, 2020
                                                                                                  DIie--
                         Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 2 of 11 PageID #:315
ll.ND 2.i5C (Rev. 03/1212020) Aincndcd Judgntcnt in a Crinrinal   Case                                           (Note: ldcntify Changes with Astensks   (.))

DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: I :19-CR-00573(l)
                                                                         IMPRISONMENT
The defendant is hereby cornmitted to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
* Time served as to Count l; Time served as to Count 2

*!             The court makes the following recommendations to the Bureau of Prisons:

     tr        The defendant is remanded to the custody of the United States Marshal.

     tl        The defendant shall sun'ender to the United States Marshal for this district:

                 naton
           tr       as   notified by the United States Marshal.
          *E   The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

               *n   before 2:00 pm on

                 tr       as   notified by the United States Marshal.

                 n        as   notified by the Probation or Pretrial Services Office.




                                                        North lake CeETIflAill Facilitv
                                                                                  --'-J
                                                        1805 Wesr 32nd,          Street
I have executed this.iudgrnent as follows:              Baldwin, lvII 49304




                                         FILED
                                              JUL 0 I 20?06u1
                                           THOMASG. BRUTON
                                      CLERK, U.S. DISTRICT COURT
                  Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 3 of 11 PageID #:316
ILND 245C (Rcv. 03112/2020) Arnendcd Judgntcnl in a Crirninal Casc                                                (Note: ldcntify ('hanges wirh Asterisks   ('))
    6 Schcdulc of Paymcnts
Sheet                                                                                                                                 Judqrnent   Pacc 3    of4
DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER:I : l9-CR-00573(l )



        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO l8 U.S.C                                                              g 3s83(d)

Upon release from irnprisonment, you shall be on supervised release for a term of:
*One (l) year.

             The court irnposes those conditions identified by checkmarks below:


During the period ofsupervised release:
 *      I      (l)   you shall not commit another Federal, State, or local crime.
 *      [l     (2) you shall not unlawfully possess a controlled substance.
        tr     (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the courr,
                   if an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                     dornestic violence crime, as defined in $ 3561(b).1
        n      (4) you shall   register and cornply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C.           $
                     169r3).
 *      [t     (5)   you shall cooperate in the collection of a DNA sarnple if the collection of such a sample is required by law.
        tr     (6)   you shall refrain from any unlawful use of a controlled substance AND subrnit to one drug test within l5 days of release on
                     supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use ofa controlled substance during
                     eachyearofsupervisedrelease. [Thismandatoryconditionmaybe amelioratedorsuspendedbythecourtforany
                     defendant ifreliable sentencing information indicates a low risk offuture substance abuse by the defendant.]

  DISCRETIONARY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO l8 U.S.C g 3563(b) AND
                                                                     l8 u.s.c s 3s83(d)
Discretionarl'Conditions       The court orders that you        by the following conditions during the term of supervised release because such
                             - to the factors set fonh inabide
condilions are reasonably related                           $ 3553(a)(l) and (a)(2XB). (C). and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes irrdicated in $ 3553 (aX2) (B). (C). and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period of supervised retease:
        D (l)         you shall provide financial support to any dependents ifyou are financially able to do so.
 *      E (2)         you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of 3663(a) or
                                                                                                                              $
                       $ 3663A(cXlXA)).
        D (3)           you shall give to the victirns of the offense notice pursuant to the provisions of 3555, as follows:
                                                                                                           $
        D (4)         you shall seek, and work conscientiously at, lawful ernployment or, if you are not gainfully employed, you shall pursue
                       conscientiously a course of study or vocational training that will equip you for employment.
        n      (5) you shall refrain frorn engaging in the following occupation, business, or profession bearing a reasonably direct
               relationship
                       to the conduct constituting the offense, or engage in the following specified occupation, business, or profession
                                                                                                                                           only to a
                       stated degree or utrder staled circumstances; (ifchecked yes, please indicate restriction(s))
        D      (6) you shall not knowingly meet or communicate with any person whorn you know to be engaged, or planning
                       to be engaged, in crirninal activity and shall not;
                         n visit the following type of places:
                         tr knowingly meet or comtnunicate with the lollowing persons:
        D      (7) you shall refrain frotn E any or EI excessive use ofalcohol (defined as E having a blood alcohol concentration
                      greater than 0.08; or fl         ), and from any use ofa narcotic drug or other controlled substance, as defined in $ 102
                      of the Controlled Substances Acl (21 U.S.C. $ S02), without a prescription by a licensed medical practitioner.
 aB(8)               you shall not possess a firearm, deslructive device, or other dangerous weapon.
        D      (e)       tr you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which rnay
                               include urine testing up to a maximurn of 104 tests per year.
                         D you shall participate, at thedirection of a probation officer, in a rnental health treatrnent program, and shall take
                              any rnedications prescribed by the mental health treatment provider.
                          tr you shall participate, at the direction ofa probation officer, in rnedical care; (ifchecked yes, please speci[y:
                    Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 4 of 11 PageID #:317
ll.ND 245C (Rev.03ll2/2020) Arncndcd Jrrdgrnent in a Crirninal   Casc                                            (Notc: I(lcnrify Changes wrth Asrerisks (.))
Sheet6- ScheduleofPavrnents                                                                                                           Judgrncnr- page4of4
DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER:I : l9-CR-00573( l)

                                      )
        D (10)      (interrnittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                     intervals of time, totaling       [no more than the lesser of one year or the term of irnprisonrnent authorized for the
                    offense], during the first year ofthe terin ofsupervised release (provided, however, that a condition set forth in
                     $3563(b)(10) shall be imposed only for a violation of a condition of supen,ised release in accordance with I3583(eX2)
                     and only when facilities are available) for the following period
        tr     (II) (community confinement): you shall reside at, or participate in the program of a community corrections facility
                    (including a facility maintained or under contract to the Bureau ofPrisons) for all or part ofthe term ofsupervised
                     release, for a period of       months.
        tr     (12) you shall work in community service for            hours as directed by a probation officer.
        tr     (13) you shall reside in the following place or area: , or refrain frorn residing in a specified place or area:
        E      (14) you shall not knowingly leave from the federal judicial district where you are being supervised, unless
                    granted pennission to leave by the court or a probation officer. The geogra.phic area of the Northem District
               of
                       lllinois currently consists of the lllinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle,
               wilt,
                        Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
        a      (15)    you shall report to the probation office in the federal judicial district to which you are released within 72 hours of your
                       release frorn imprisonment. You shall thereafter report to a probation officer at reasonable times as directed by thi court
                       or a probation officer.
        tr     (16) tr          youshall perrnitaprobationofficertovisilyou Eatanyreasonabletimeor El asspecified:
                                I  at horne              E at work                  E at school                  E at a community sen,ice
                        location   B other reasonable location specified by a probation officer. If Defendant objects to the proposed location,
                        he may file an objection with the Court within seven days of being notified of rhe location.
                          tr you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
        a     (17) you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
                      workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. you snalt answer
                      truthfully any inquiries by a probation officer, subject to any constilutional or other legal privilege.
        a     (18) you shall notify a probation officer within 72 hours if after being arrested, charged wiin a crime, or questioned by a law
                      enforcement officer.
        tr    ( l9) (home confinernent)

                       D (a)(i) (home incarceration) for a period of rnonths, you are restricted to your residence at all times except for
                             rnedical necessities and courl appearances -or other activities specifically approved by the court.
                      tr     (a)(ii) (horne detention) for a period of   rnonths, you are restricted to your residence at all times except for
                                                                       - medical, substance abuse, or rnental health treatment; attorney
                             etnployrnent; education; religious services;
                             courl appearances; coutl-ordered obligations; or other activities pre-approved by the probation olficer.       'isits;
                      n (a)(iii) (curfew) for a period of- rnonths, you are restricted to your residence every day.
                      tr frorn the tirnes directed by the probation officer; or E frorn _ ro _.
                      tl (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be
                             monitored by a form of location monitoring technology selected at the discretion of the probation officer,
                                                                                                                                           and you
                             shall abide             by all technology requirernents.
                      tr (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are
                             financially able to do so.
       tr     (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
              the
                      District of Colurnbia, or any other possession or territory of the Unired States, requiring payrnents
                                                                                                                             by you for the suppon
                      and maintenance of a child or of a child and the parenr with whorn rhe child is living. -'
        E     (2 l) (deportation): If ordered removed, you shall be surrendered to a duly authorized
                                                                                                          orrtlut of'the Homeland Security
              Departrnent for a determination on the issue of deportability by the appropriate authority in accordance with
                                                                                                                                the laws under the
              Irnrnigration and Nationality Act and the established irnplementing regulations. If ordeied deported, you
                                                                                                                             shall not rernain in or
              enter the united States without obtaining, in advance, the express written consent of the United
                                                                                                                   States Attorney General or the
              United States Secretary of the Depa(ment of Horneland Security.
       n      (22) you shall sarisfy such other special conditions as ordered below.
                Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 5 of 11 PageID #:318




                                UMTED STATES DISTRICT COURT
                                                        Northern District of Illinois


                IJNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                            v.

                 ROBERT S. WAKSMI.INDZKI                                        Case Number:           l: l9-CR-00573(l )

                                                                                USM Numbcr:            5420t424


                                                                                Steven Richard Hunter
                                                                                Dcfcrdatt's Anomsy


TIIE DEFENDANT:
E pkaded guilty to Counts One and Two of the lnformation.
E pleaded nolo contendere to count(s) which was accepted             by thc court.
E was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Naturc of Offense                                                                 Olfcnse Ended                Count
 lE:371.F Conspiracy To Dcfraud The Unircd States                                                    06/un0t5                      I
 26:72MA.F Fraud and False Statcments                                                                06rc4n015                    2




The defendant is sentenced as provided in pages I through 4 of this judgment. The sentence
                                                                                           is imposed pursuant to the Sentencing Reform
Act of I 984.

E fne defendant has been    found not guilty on count(s)

E Coun(s)        dismissed on the motion of the United States.
It is ordered that the defendant must noti$ the united states Attorney for this Disricr within
                                                                                                  30 days of any change of name, residence, or
mailing address until all fines' restitution, costs, and special assessmints imp-osed by this judgment
                                                                                                        are fully paid. If ordered to pay
restitution, the defendant must notifu the court and united states Attomey ormaterlat
                                                                                           .tr.ngir in           circurnstances.
                                                                                                     ""onomic




                                                                                     Edmond E. Chang, United     SatL Oistricr   Judg€

                                                                                     Name and Titlc of Judge


                                                                                     Date
                   Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 6 of 11 PageID #:319

ILND 2458 (Rev. 0923/2019 Judgncnt in     a   Criminal Casc


DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: I : l9-CR-00573(l)
                                                                 IMPRISOT\[MENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a roul term of:
Twelve (12) months and one (l) day as to Count One; Twelvc (12) months and one (l) day as to Count Two. Terms to run concurrently for a
total term of imprisonment of Twelve ( l2) months and one ( I ) day,

a         The Court recommends to the Bureau of Prisons that Defendant be commined to a Bureau of Prisons facility as close to Chicago,

     lllinois,   as possible.

tr        The defendant is remanded to the custody of the United States Marshal.

tr        The defendant shall surrender ro the United States Marshal for this district:

          tr
     tr          as   notified by the United States Marshal.

     tr          The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofprisons:

          A            before 2:00 pm on January 21,2020.

          tr           as   notified by the United States Marshal.

          tr           as   notified by the Probation or Pretrial Services Office.




                                                                    RETURN
                                                         Northlake Correctional Facility
I have executed this judgment as fotlows:                 1805 West 32nd Street
                                                          Baldwin,


                                                                                                                  with a certified copy of this
                  Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 7 of 11 PageID #:320
ILND 2458 (Rcv. 09123/2019 Judgrrnt in   a Criminal Case
Shcct 5 - Criminal Monctarv Pcnaltics

DEFENDANT: ROBERT S. WAKSMT,NDZKI
CASE NUMBER: I : l9-CR-00573(l)


                                               CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                  Assessment       JVTA Assessmentr                          Fine                  Bcrtitution
 TOTALS                                              s200.00                       $.00                      $.00                 $194.156.00


 tr        The determination of restitution is deferred    until
                                                               . ls Anended Judgment in a Criminal Case (Ao 24sqwill be entered after such
           determination.
 tr        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           lf the defendant makes a partial payment, each payee shall receive an approximately proportioned paynent, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to l8 U.S.C. 3654(i), att nonfederal
                                                                                                                $
           victims must be paid before the United States is paid.

      Restitution of $ 194, 166.00 to:

            DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE
            ATTN: MS 6261 "RESTITUTION"
            333 WEST PERSHING ROAD
            KANSAS CITY, MO 64I08

       tr          Restitution amount ordered pursuant to plea agreement $

       tr          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                   before the fifteenth day after the date of the judgment" pursuant to 18 u.S.c. 3612(f). Ail of the psynent options
                                                                                                 s                                         on Sheet
                   6 may be subject to penalties for delinquency and default, pumuant to l8 U.S.C. 3612(9).
                                                                                                      $
       tr          The court daermined that the defendant does not have the abitity to pay interest and it is ordered that:

                   tr             the interest requirement is waived for the

                   tr             the interest requirement for     the    is   modified as follows:

       tr          The defendant's non-exempt assets, if any, are subject to immediate execution to satis$ any
                                                                                                               outstanding restitution or fine
                   obligations.

       '   Justice for Victims of Trafficking Act of 2015, pub. L. No, I l4-22.
       'Findingstbrthetotalamountof lossesarerequiredunderchapters 109A, ll0, ll0A,and                    ll3Aof Title   tEfiorofffensescommitted
       on or after September 13, 1994, but bcfore April 23, 1995.
                        Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 8 of 11 PageID #:321
ILND 24JB (Rcv. 09/2312019) Jud8ment in a Criminal    Case
Shcct   6-   Schcdulc   of
DEFENDANT: ROBERT S. WAKSMUNDZKI
CASE NUMBER: I : l9-CR-00573(l)
                                                             SCHEDULE OF PAYMENTS
Having assesscd the defendant's abiliry to pay, payment of the total criminal monetary penalties is due as follows:


A        B         Lump sum payment of $194,166 due immediately from non-exempt assets, if any.

                   tr        balance due not later   than        , or

                   D         balance due in accordance with     E   C, El D,   E   E, or    E   F below; or


Btr                Payment to begin immediarely (may be combined with              E   C,   E   D, or El F below); or

ctr                Payment in equal (e.g. weeHy, monthly, quarterly) installments of $                           over a period   of   (e.g., nontls oryeors),lo
                   commence (e.g., 30 or 60 days) after the date of this judgment; or
         tr        Payment in   equal           (e.g. weeHy, monthly, quarterly) instaltments of        $ over a period of            (e.g., montlu or years),lo
                   commence           (e.g.,   j0 or 60 days) after release from imprisonment to a term of supervision; or

         tr        Payment during the term of supervised release will commence              within
                                                                                              k.s., 30 or 60 days) after retease from imprisonmenr.
                   The coun will set the payment plan based on an assessment of the defendant's iUitity to pay-ai that time;
                                                                                                                              or

         tr        Special instructions regarding the payment of criminat monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment
                                                                                                 of criminal monetsry penalties is due
during imprisonment. All criminal monetary penalties, except those paymenti made throughihe reoeral
                                                                                                       Bureau of prisons, Inmate Financial
Responsibiliry Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
                                                                                                           imposed.

tr       Joint and Several

Case Number                                           Totrl Amount                     Joint and Several
Defendant and Co-Defendanl Names
                                                                                                                    Corresponding Payee,   if
                                                                                       Amount                       Appropriate
(lncludlng defendant nu mber)

f
 'See above for Defendant and co-Defendant Names and case Numbers (including defendant number),Total Amounl, Joint and Several
Amount, and corresponding payee, if appropriate..r

tr       The defendanl shatl pay the cost ofprosecution.

tl       The defendant shall pay the following courr cost(s):

A        rhe defendant shall forfeit the defendant's intercst in the fotlowing property to the united
                                                                                                     States: As outlined in the preliminary order
         of forfeiture which shall b9
                                      lade a part of this judgment, funds in tlre ".ount of $9,829,07E.00 judgment; funds in the amount of
         $853'059.58; approximately $480,763.5:
                                                    1-ctiale ctrecking accounr no. XXXXXIi3g,'h"ld in ihe-name waksmundzki, L.L.c., and
         one 2014 Porsche Carrera S Silver, Vin:Wp0AB2A95ESl2-0310.

Payments shall be applied in the following order: (l) assessment, (2) restitution
                                                                                     principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including
                                                                                      cost of prosecution and court cost
  Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 9 of 11 PageID #:322




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA
                                                      No.   19 CR 573
                v.
                                                       Judge Edmond E. Chang
ROBERT S. WAKSMUNDZKI
           also known as "Flippy"

                         PRELIMINARY ORJ)ER OF FORT'EITURE

          The United States of America, through JOHN R. LAUSCH, JR., United States Attorney

for the Northern District of Illinois, having moved for entry of a preliminary order of forfeiture as

to specific property   pursuant   to the provisions of Title 18, United States Code, Section
981(a)(l)(C), Title 28, United States Code, Section 2461(c), and Federal Rules of Criminal

Procedure 32.2, and upon consideration of the government's motion,

          It is hereby ORDERED, ADJUDGED and DECREED:

          l.    That, a personal money judgment in the amount of $9,829,078 is entered against

defendant ROBERT S. WAKSMUNDZKI;

          2.    Thar, pursuant to the provisions of l g u.s.c. g 9gl(aXl)(c), 2g u.s.c. g 246t(c),

and Fed. R. Crim. P.32.2,a11 right, title and interest of defendant ROBERT S. WAKSMT
                                                                                             NDZKI
in the following property is hereby forfeit to the United States of America for disposition
                                                                                            according

to law;

                (a)    funds in the amount of a $9,829,02g judgment;

                (b)    funds in the amount of $853,059.58;

                (c)    approximately $480,763.53 in chase checking accounr no.        XXXXxlT3g,
                       held in the name of Waksmundzki, L.L.C.; and

                (d)    one 2014 Porsche carrera S silver,   vIN: wp0AB2A96ESl203l0.
  Case: 1:19-cr-00573 Document #: 47 Filed: 07/09/20 Page 10 of 11 PageID #:323




        3.      That, pursuant to the provisions of 2l U.S.C. $ 853(9), as incorporated by 28 U.S.C.

$ 2461(c), the Department of Homeland Security shall be authorized to seize and take custody           of
the foregoing property for disposition according to law;

        4.      That, pursuant to the provisions of    2l    U.S.C. $ 853(nXl), as incorporated by 2g

U.S-C. $ 2461(c), the United States shall publish notice of this order and of its intent to dispose of

the property according to lav',. 1he government may also, pursuant to statute, to the extent

practicable, provide written notice to any person known to have alleged an interest
                                                                                    in the property

that is the subject of the preliminary order of forfeiture. The government is unaware at
                                                                                         this time

of anyone who qualifies for such notice;

        5.      That, pursuant to the provisions of    2l   U.S.C. $ 853(nX2), as incorporated by 2g

U.S.C' $ 2461(c),   if   following notice as directed by this Court and     2l   U.S.C. g g53(n)(l),   as

incorporated by 28 U.S'C. $ 2461(c), any person other than the defendant,
                                                                          asserts an interest in the

property which has been ordered forfeit to the United States, within
                                                                     30 days ofthe final publication

of notice or this receipt of notice under paragraph 4, whichever is earlier, and petitions
                                                                                           this Court
for a hearing to adjudicate the validity of this alleged interest in the property
                                                                                  the government shall

request a hearing- The hearing shall be held before the Court alone,
                                                                     without       a   jury;
        6'      That, following the Court's disposition of all third parties interests,
                                                                                        the Court shall,

upon the government's motion, if appropriate, enter a final order
                                                                  of forfeiture, as to the property
which is the subject of this preliminary order of forfeiture, vesting
                                                                      clear title in the United States

of America;

       7.      Pursuant to the terms   of rg u.S.c.    g   9gl(aXlxc), 2g u.s.c.   g 2461(c), and Fed.

R' Crim' P' 32'2, the terms and conditions of this preliminary order of
                                                                        forfeiture are part of the
sentence imposed against defendant RoBERT s. WAKSMLINDZKI
                                                          and shall be made part of any
                                                   2
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judgment and commitment order entercd in this case against him;

       8.      That, this Court shall retain jurisdiction in this matter to take additional action and

enter further orders as necessary to implement and enforce this forfeiture order.




                                                      EDMOND E. C}TANG
                                                      United States District Judge

DATED: December 20. 2019
